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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


LILLY OGLE,                                  )
                                             )
               Plaintiff,                    )
                                             )
       v.                                    )       CASE NO.
                                             )
PILOT TRAVEL CENTERS, LLC,                   )
                                             )
               Defendant.                    )

                                   NOTICE OF REMOVAL


       Comes now Defendant, Pilot Travel Centers, LLC, by counsel, and files its Notice of

Removal to the United States District Court for the Southern District of Indiana, Indianapolis

Division, pursuant to 28 U.S.C. §§1332, 1441 and 1446 and in support of this Notice would

show the Court as follows:

1. Defendant, Pilot Travel Centers LLC is the Defendant in a civil action filed by Plaintiff, Lilly

   Ogle on or about January 6, 2020 in the Madison Circuit Court 3 under Cause No. 48C03-

   2001-CT-000005, a copy of which is attached hereto as Exhibit A.

                                     Amount in Controversy

2. While Plaintiff’s Complaint does not allege a dollar amount for damages, the case does

   involve a bodily injury claim which has resulted in a shoulder replacement surgery.

3. Counsel for Defendant has discussed the case with counsel for Plaintiff who confirmed that

   the amount in controversy does in fact exceed $75,000, the jurisdictional amount required for

   removal pursuant to 28 U.S.C. §1332(a).
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                                       Citizenship of Parties

4. The Plaintiff asserts in her Complaint that she is a citizen of Indiana.

5. Pilot Travel Centers LLC d/b/a Pilot Flying J is a limited liability company incorporated

   under the laws of State of Delaware. Its principal place of business is located at 5508 Lonas

   Road, Knoxville, Tennessee 38909.

6. Pilot Travel Center LLC is composed of four members: (a) National Indemnity Company;

   (b) Pilot Corporation; (c) BDT I-A Plum Corporation; and (d) FJM Investments, LLC.

7. National Indemnity Company is a foreign corporation incorporated under the state laws of

   Nebraska. Its principal place of business is 1314 Douglas Street, Suite 1400, Omaha,

   Nebraska 68102-1944

8. Pilot Corporation is a foreign corporation organized under the state laws of Tennessee. Its

   principal place of business is located at 5508 Lonas Road, Knoxville, TN 38909.

9. BDT I-A Plum Corporation is a foreign corporation incorporated under the state laws of

   Delaware. Its principal place of business is located at 401 N. Michigan Avenue, Chicago, IL

   60611.

10. FJM Investments, LLC is a foreign limited liability company organized under the state laws

   of Utah. FJM Investments, LLC is composed of one member, FJ Management, Inc. FJ

   Management Inc. is organized under the state laws of Utah. The principal place of business

   of both entities is 185 State Street, Suite 1300, Salt Lake City, Utah 84111.

11. No member of Pilot Travel Centers, LLC is a citizen of Indiana nor a citizen of Nevada.

12. Because there is complete diversity among the parties pursuant to 28 U.S.C. §1332(a)1, this

   Court has original jurisdiction in this matter.

13. Pursuant to 29 U.S.C. §1441(a), any civil action brought in a state court of which the District
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   Courts of the United States have original jurisdiction, may be removed by a Defendant to the

   District Court of the United States for the district and division embracing the place where

   such action is pending which would be the United States District Court for the Southern

   District of Indiana, Indianapolis Division.

                                     Timeliness of Removal

14. Plaintiff’s Complaint was filed on January 6, 2020.

15. Defendants were served on April 6, 2020 by certified mail.

16. Pursuant to 28 U.S.C. §1446(b)1, this Notice of Removal is timely filed within 30-days of

   Defendant’s receipt of a copy of the initial pleading.

                                 Proper Jurisdiction of this Court

17. As jurisdiction is proper, Defendants now seek removal to the United States District Court

   for the Southern District of Indiana, Indianapolis Division, pursuant to 28 U.S.C. §1441.

18. Defendants desire to and hereby do remove the action reflected in the Complaint attached as

   Exhibit A from the Circuit Court of Madison County, Indiana to the United States District

   Court for the Southern District of Indiana, Indianapolis Division.

19. This Notice is accompanied by copies of all pleadings served in the lawsuit (state court

   record). Such pleadings include the following items:

       a. Plaintiff’s Complaint attached hereto as Exhibit A.

       b. Chronological Case Summary attached hereto as Exhibit B.

       c. Summons attached hereto as Exhibit C.

       d. Appearance of Shannon Mize attached hereto as Exhibit D.

       e. Appearance of Jason Shartzer attached hereto as Exhibit E.

       f. Appearance of Danford R. Due and Christopher J. Appel attached hereto as Exhibit
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           F.

       g. Motion for Extension of Time to Plead attached hereto as Exhibit G.

       h. Order Granting Extension of Time to Plead attached hereto as Exhibit H.

       i. Alias Summons attached hereto as Exhibit I.

       j. Return of Service attached hereto as Exhibit J.

20. Promptly after it is filed with this Court, Defendants will serve this Notice of Removal on

   Plaintiff and file a Notice with the Clerk of the Madison Circuit Court 3.

WHEREFORE, Defendant prays that the lawsuit reflected in the Complaint attached hereto as

Exhibit A be removed to this Court pursuant to the laws of the United States and for all other

relief proper in the premises.

                                             DUE DOYLE FANNING & ALDERFER LLP


                                             By: _/s/ Danford R. Due_____________________
                                                    Danford R. Due, Atty. No. 4618-49

                                                     Attorneys for Defendants, Pilot Travel
                                                     Centers, LLC


                                 CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing has been served upon the following counsel of
record by the Clerk’s electronic filing system this 29TH day of April 2020:

       All Counsel of Record

                                                     _/s/ Danford R. Due_________________
                                                     Danford R. Due

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